 Case
  Case1:22-cv-00563-AMD-VMS
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------------ x
   KEDWIN PAYAMPS


                          Plaintiff(s),                                    JOINT PROPOSED
                                                                    CIVIL CASE MANAGEMENT PLAN
           -against-
                                                                     22 Civ. 0563
                                                                     ____             AMD (VMS)
                                                                             _______ (_____)
    THE CITY OF NEW YORK ET AL.


                            Defendant(s).
   ------------------------------------------------------------ x
    The parties/counsel who conferred in drafting this joint proposed case management plan:
                          __________________________________________________________
                        M.K.   Kaishian, Cohen Green, 1639 Centre St., Ridgewood, NY 11385
    For Plaintiff(s):
                          __________________________________________________________
    For Defendant(s): Michael     Pesin-Virovets, NYC Law Dept., for defendants City of New York,
                        de Blasio, Shea, Monahan, Johnson, and Auguste.
A. Do the parties requestLouis
                          referral to the
                               C. La      Court’s
                                      Pietra,     ADR&program?
                                              La Pietra                    No: ✔ Lance
                                                                 Yes: for defendant
                                                        Krieger, P.C.,
B. Do the parties consent to proceed before a Magistrate Judge pursuant to 28 U.S.C. § 636(c)?
       Yes:        If yes, fill out the AO 85 Notice, Consent and Reference of a Civil Action to a
                   Magistrate Judge Form and file it on ECF. https://www.uscourts.gov/forms/civil-
                   forms/notice-consent-and-reference-civil-action-magistrate-judge.
        No: ✔ If no, do not indicate which party declines consent.

C. The parties may wish to engage in settlement discussions.
   If so, Plaintiff(s) will serve demand by 09/06/2022 . Defendant(s) will respond by 09/20/2022 .

D. Defendant(s) will answer or otherwise respond to complaint by                   , if not yet done.

   The parties will serve Rule 26(a)(1) initial disclosures by 09/06/2022 , if not yet done.

   The parties will serve initial document requests and interrogatories on or before 09/20/2022 .

   Any joinder and/or amendments of the pleadings must be made by 10/28/2022 .

   The parties will complete fact discovery by 01/27/2023 .

   If the parties perform expert discovery, they will serve initial disclosures by 01/27/2023 ;
   initial expert reports by 02/27/2023 ; and rebuttal expert reports on or before 04/28/2023 .
   All discovery, including expert depositions, will be completed by 05/29/2023 , and the parties
   will file a joint letter certifying the close of all discovery by this same date.

   Other considerations the parties wish to bring to the Court’s attention, such as the need for
   electronic discovery or confidentiality order:
    The parties are filing a joint letter regarding the outstanding issue of coordinating discovery
    between the instant matter and the consolidated Summer 2020 protest cases.
